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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                                             MDL No. 3076
                                      Case No. 1:23-md-03076-KMM

   IN RE:

   FTX Cryptocurrency Exchange Collapse MDL Litigation
   _______________________________________________

   THIS DOCUMENT RELATES TO:

   Promoter Defendants
         Garrison, et al. v. Kevin Paffrath, et al., S.D. Fla. Case
         No. 23-cv-21023
   ___________________________________________/


                 PLAINTIFFS’ MOTION TO COMPEL EXPEDITED DISCOVERY
                          FROM DEFENDANT JASPREET SINGH
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          Plaintiffs respectfully move for an order overruling objections and compelling Defendant
   Jaspreet Singh to serve responses and documents to Plaintiffs’ jurisdictional discovery requests
   and to sit for deposition, as ordered by this Court. ECF No. 422.
          In the original action filed against Defendant, Garrison v. Paffrath, No. 23-21023-CIV-
   ALTONAGA/Damian (“Paffrath”), Defendant Singh moved to dismiss arguing that Florida courts
   have no jurisdiction over him because neither him nor FTX conducted any substantial business
   regarding FTX in this state. A discovery dispute ensued, and Chief Judge Altonaga later entered
   an Order ruling “[t]he Court finds that jurisdictional discovery is appropriate; additional
   jurisdictional facts need not be alleged in Plaintiffs’ pleading,” and granting the plaintiffs leave to
   conduct jurisdictional discovery—written requests and depositions—against Defendant. Plaintiffs
   accordingly served Defendant with a set of discovery requests seeking basic documents, such as
   the contracts and agreements concerning his relationship to FTX. See Paffrath Request, attached
   as Exhibit 1. In response to the requests, and before the case was transferred into this MDL,
   Defendant served objections. See Paffrath Response, attached at Exhibit 2.
          Shortly after Plaintiffs filed their administrative complaints, with Sam Bankman-Fried’s
   trial imminent, the Court stayed discovery in these proceedings pending the completion of Mr.
   Bankman-Fried’s criminal trial. ECF Nos. 318, 336. In doing so, the Court ruled that Plaintiffs
   could seek to lift the stay and renew the request for jurisdictional discovery when Mr. Bankman-
   Fried’s trial was over. ECF No. 336. In moving to dismiss the administrative complaints,
   Defendant renewed the exact same arguments.
          Once Mr. Bankman-Fried’s trial concluded, Plaintiffs moved the Court to lift the stay and
   to grant Plaintiffs leave to conduct limited jurisdictional discovery. See Omnibus Motion, attached
   at Exhibit 3. The Court granted Plaintiffs’ motion, holding that “jurisdictional discovery is
   appropriate.” See Order [ECF No. 422], attached as Exhibit 4. The Court held: “The disputed facts
   related to Plaintiffs’ theories of personal jurisdiction are intertwined with the merits of the
   respective cases—thus, Plaintiffs have a qualified right to jurisdictional discovery.” See id. at 5.
   The Order further states that “Plaintiffs shall have 45 days from the date of this order to conduct
   limited jurisdictional discovery” and that “[a]ny dispute regarding jurisdictional discovery,
   including but not limited to the breadth of the discovery requests, shall be resolved by a United
   States Magistrate Judge.” Id. at 6.



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           Pursuant to the Court’s Order, Plaintiffs served Defendant with a set of requests for
   production and interrogatories on December 22, 2023. See Jurisdictional Requests, attached as
   Exhibit 5. The Jurisdictional Requests are nearly identical to the requests Plaintiffs previously
   served on Defendant in Paffrath pre-MDL, to which Defendant already responded with objections
   in May 2023. Compare Exs. 1 & 5; see also Ex. 2.
           Given the expedited February 1st deadline imposed by the Order and the fact that Defendant
   objected to these same requests seven months ago, Plaintiffs reached out to Defendant to meet and
   confer on depositions dates and on the requests, simply to confirm whether he intended to renew
   the same objections (namely unsupported “undue burden” and general “overbreadth” objections)
   or change them in any way, in order to move this discovery along efficiently. The parties agreed
   on January 24, 2024, for Plaintiffs to take Defendant’s deposition. As to the requests, Defendant
   raised objections to Requests for Production No.’s 1, 3, and 5, and Interrogatory No.’s 1, 2 and 12
   on grounds that they are overly broad and outside the scope of the jurisdictional discovery
   permitted by the Court’s Order.
           Plaintiffs therefore request that the Court grant Plaintiffs’ motion and (1) overrule
   Defendant’s objections, and (2) order the production of all responsive documents and interrogatory
   responses to be completed at least 3 business days before Defendant’s deposition on January 24,
   2024, in accordance with the District Court’s Order and as Federal Rules 26(d) and 34(b)(2) grant
   this Court the discretion to do. 1
                                             ARGUMENT
           “The Court is authorized to shorten the discovery response deadlines and has broad
   discretion to manage the timing of discovery.” Gayle v. Meade, No. 20-CV-21553, 2020 WL
   4515517, at *2 (S.D. Fla. July 13, 2020); see also Rodriguez v. Niagara Cleaning Servs., Inc., No.
   09-22645-CIV-UNGARO, 2010 WL 23076, at *1 (S.D. Fla. Jan. 4, 2010) (granting “Motion
   requesting the Court to shorten the Defendants' response time to the discovery requests”). The
   Rules of Civil Procedure provide that the time to respond to discovery may be shortened by order
   of the court. See Fed. R. Civ. P. 33(b)(2) and 34(b)(2)(A). Plaintiffs request that the Court use its
   broad discretion to grant the relief sought herein and compel Defendant to respond to the discovery
   within the timeframe proposed by Plaintiffs.


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    See AT&T Mobility LLC v. Dynamic Cellular Corp., No. 08-20537-CIV-MORENO, 2008 WL
   2139518, at *2 (S.D. Fla. May 7, 2008).
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           “Expedited discovery should be granted when some unusual circumstances or conditions
   exist that would likely prejudice the party if he were required to wait the normal time.” Fimab-
   Finanziaria Maglificio Biellese Fratelli Fila S.P.A. v. Helio Imp./Exp., 601 F. Supp. 1, 3 (S.D. Fla.
   1983). Given that Defendant’s deposition is scheduled for January 24, 2024, and that Plaintiffs
   must complete jurisdictional discovery by February 1st, Plaintiffs will be prejudiced if they are
   forced to wait the full 30 days period allowed under the Rules of Civil Procedure to receive
   Defendant’s discovery responses. By requiring Defendant to respond to the discovery within a
   shortened time frame, Plaintiffs will have the opportunity to meet, confer, and seek Court
   intervention to resolve any objections in order to obtain a meaningful production in advance of
   Defendant’s deposition and the February 1st deadline.
          On the other hand, there is simply no prejudice to Defendant in requiring him, on an
   expedited basis, to simply reassert the same objections that have been pending since May 2023,
   and to respond to five requests for production and limited interrogatories in advance of his Zoom
   deposition in compliance with the Court’s Order. To be sure, this is not Defendant’s first encounter
   with these requests, as most of the requests seek the same documents sought in the requests that
   plaintiffs served in the Paffrath action. Compare Exs. 1 & 5. 2 Defendant already served objections
   for these requests (see Ex. 2) and therefore, Defendant can certainly serve responses within the
   timeline proposed by Plaintiffs. Nor should Defendant need much time to respond to the “new”
   request seeking documents concerning Defendant’s “travel to, or presence in, Florida” given that,
   per Defendant’s own admissions, Defendant’s contacts with Florida are minimal. In sum, because
   Defendant has had these requests for essentially a year, he should be compelled to serve the
   responses and produce the documents on an expedited basis.
          Given that (1) Defendant already objected to these requests seven months ago, and (2) the
   expedited timeframe imposed by the Court’s Order, a shortened timeframe for Defendant to serve
   his discovery responses is not just appropriate, but necessary to give effect to the Court’s Order.
   Further, any remaining objections on the basis that Plaintiffs’ discovery requests are overly broad
   should be overruled. Pursuant to this Court’s procedures, Defendant’s “[b]lanket and unsupported
   objections” concerning the overly broad requests—without providing any further explanation—



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    Moreover, some of the requests were also within the set of discovery that Plaintiffs served on
   Defendant early on in this MDL in July 2023. See, e.g., Exhibit 6.
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   are “meaningless” and “meritless” and should be overruled. See Magistrate Judge Eduardo I.
   Sanchez’s Discovery Procedures, at II.B.
                                            CONCLUSION

          For the foregoing reasons, Plaintiffs respectfully request that the Court grant Plaintiffs’
   motion and (1) overrule Defendant’s objections, and (2) order the production of all responsive
   documents and interrogatory responses to be completed at least 3 business days before Defendant’s
   deposition on January 24, 2024, in accordance with the District Court’s Order and as Federal Rules
   26(d) and 34(b)(2) grant this Court the discretion to do.
                                S.D. FLA. L.R. 7.1 CERTIFICATION

          Plaintiffs’ Counsel certify that they have conferred with Counsel for Defendant Singh in a
   good faith effort to resolve the issues raised in this Motion, and report that Defendant opposes the
   requested relief.

   Dated: January 5, 2024                        Respectfully submitted,

                                     Plaintiffs’ Co-Lead Counsel

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                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on January 5, 2024, a true and correct copy of the foregoing was

   filed electronically with the Clerk of the Court, by using the CM/ECF system, causing a true and

   correct copy to be served on all counsel of record.

                                                            /s/ Adam M. Moskowitz
                                                                Adam M. Moskowitz




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